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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

`UNITED sTATEs oF AMERICA,
Plaintiff,

v. No. 92-2062-D/A

sTATE oF TENNESSEE, et al.,
Defendants,

PEOPLE FIRST oF TENNESSEE, and

PARENT-GUARDIAN ASSOCIATION OF
ARLINGTON DEVELOPMENTAL CENTER,

~.._,-._r-._r\._¢\-._¢`_/\_/\_r\_d\._r-._¢V~_/V~_,r

Intervenors.

 

ORDER

 

On June 28, 2005, the Monitor, Dr. Nancy K. Ray, submitted an
invoice for fees and expenses incurred in May 2005. According to
this invoice, the Monitor incurred fees and expenses in the amount
of $83,482.88 in May 2005. This invoice is attached hereto as
Appendix l.

Whereas the Court has not received any comments or objections
from Defendant, Defendant State of Tennessee is hereby ORDERED to
pay the amount set out in this invoice into the registry of the
Court. All funds received by the Clerk of Court are directed to be
deposited into an interest-bearing account and shall be used to
reimburse the Monitor for her expenses and fees up to and including

the total sum of the money deposited by Defendant State of

   

Th{q,q,o§ymont entered on the docket
with Rule 58 and!or 79(&} FHCP on ""

ypv/‘)

Case 2:92-cv-02062-.]PI\/|-tmp Document 2029 Filed 07/22/05 Page 2 of 7 Page|D 9700

Tennessee. Any money not spent by the Monitor shall be credited to

Defendant.

.£A.
IT Is so 0RDERED this 14 day of July, 2005.

    

B RNICE B. DONALD
ITED STATES DIS'I‘RIC'I' JUDGE

 

NANCY K. RAY,E

Case 2: 92- -C\/- -02062- .]PI\/|- -tmp Dmgg}§.%gg_g%ze§jl%pg,?n?e§% Page 3 of 7 Page|D 9701

 

 

NKR & Associates, Inc.
318 Delaware Avenue
Delmar, NY 12054
Phone (518) 478-0982 Fax (518) 478-0986

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STATES OF AMERICA,
Plaintiff,

V.

STATE OF TENNESSEE, ET AL., NO. 92-2062 Ml / A
Defendants.

INVOICE FOR MAY 2005

Dr. Nancy K. Ray hereby represents to the Court that the following monies are payable to
her for her duties as the Monitor during the month of May 2005.

Payable to
NKR & Associates, Inc.

AMOUNT OF REIMBURSEMENT REQUESTED $83,482.88

UBMITTED BY:

Nancy K. Ray, Ed.D. Date: June 28, 2005

President

 

 

 

 

NANCY K. RAY, ED.D
Case 2: 92- -C\/- -02062- .]PI\/|- -tmp QHSHM@,ZQYQE}§QQ;M)M{,OB Page 4 of 7 Page|D 9702

NKR & Associates, Inc.
318 Delaware Avenue
Delmar, NY 12054
Phone (518) 478~0982 FaX (518) 478-0986
]une 14, 2005
INVOICE FOR THE MONTH OF MAY 2005

PROFESSIONAL STAFF HOURS

Ray, N. 181 hours @ $125 22,625.00
Coleman, V. 160 hours @ $70 11,200.00
Truesdale, L. 131.50 hours @ $50 6,575.00
SUPPORT STAFF I-IOURS

Dowd, C. 142.50 hours @ $50 7,125.00
Farstad, E. 172 hours @ $40 6,880.00
Morris, K. 146 hours @ $50 7,300.00
Williams, S. 50.50 hours @ $40 2,020.00
STAFF TRAVEL

Ray (5/4-7/ 05) 1,184.26
Ray (5/ 13-14/ 05) 887.29
Ray (5/17-20/05) 1,240.03
Coleman (May 2005) 532.45
Truesdale (5/ 7-11/05) 860.88
Farstad (5/ 7-'11/ 05) 714.32
Williams (5/9-12/05) 1,075.37
CONSULTANT HOURS

Maxon (05/17-25/05) 6,875.00
Langkau (5/ 16-22/ 05) 2,000.00
Langkau (5/ 30/ 05) 1,250.00
CONSULTANT TRAVEL

Maxon (5/ 17-20/ 05) 1,017-58
Ouimet (5/ 7-10/ 05) 587.63
PHONE

Verizon Wireless and AT&T 230.82
POSTAGE

Mailboxes, FedEx, and US Postal Service 974.18
PRINTING

Inhouse Printing 243.72
DOCUMENT DESTRUCI`ION

3N Document Destruction, Inc. 84.35

TOtal $83,482.88

     

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Notice of Distribution

This notice confirms a copy of the document docketed as number 2029 in
case 2:92-CV-02062 Was distributed by faX, mail, or direct printing on
.1 uly 22, 2005 to the parties listed.

 

 

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Case 2:92-cv-O2062-.]PI\/|-tmp Document 2029 Filed 07/22/05 Page 6 of 7 Page|D 9704

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Case 2:92-cv-O2062-.]PI\/|-tmp Document 2029 Filed 07/22/05 Page 7 of 7 Page|D 9705

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Honorablc Bcrnicc Donald
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